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                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                        GEM CITY BONE &amp; JOINT v. MEISTER
                                                Cite as 306 Neb. 710



                             Gem City Bone and Joint, P.C., appellee, v.
                                Michael W. Meister and Michael
                                  W. Meister, Attorney at Law,
                                      P.C., L.L.O., appellants.
                                                    ___ N.W.2d ___

                                          Filed August 7, 2020.    No. S-19-849.

                 1. Judgments: Jurisdiction: Appeal and Error. A jurisdictional question
                    that does not involve a factual dispute is determined by an appellate
                    court as a matter of law, which requires the appellate court to reach a
                    conclusion independent of the lower court’s decision.
                 2. Jurisdiction: Appeal and Error. Before reaching the legal issues
                    presented for review, it is the duty of an appellate court to determine
                    whether it has jurisdiction over the matter before it.
                 3. Jurisdiction: Final Orders: Appeal and Error. For an appellate court
                    to acquire jurisdiction over an appeal, there must be a final order or final
                    judgment entered by the court from which the appeal is taken.
                 4. Judgments: Final Orders: Words and Phrases. A judgment is the
                    final determination of the rights of the parties in an action.
                 5. ____: ____: ____. A final judgment is one that disposes of the case by
                    dismissing it either before hearing is had upon the merits or after trial
                    by rendition of judgment for the plaintiff or defendant. Conversely,
                    every direction of a court or judge, made or entered in writing and not
                    included in a judgment, is an order.
                 6. Judgments. An order on “summary application in an action after judg-
                    ment” under Neb. Rev. Stat. § 25-1902 (Supp. 2019) is an order ruling
                    on a postjudgment motion in an action.
                 7. Final Orders: Words and Phrases. A “substantial right” is an essential
                    legal right, not a mere technical right.
                 8. Final Orders. A substantial right is affected if the order affects the sub-
                    ject matter of the litigation, such as diminishing a claim or defense that
                    was available to an appellant prior to the order from which an appeal
                    is taken.
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            Nebraska Supreme Court Advance Sheets
                     306 Nebraska Reports
                   GEM CITY BONE &amp; JOINT v. MEISTER
                           Cite as 306 Neb. 710
 9. ____. It is not enough that the right itself be substantial; the effect of the
    order on that right must also be substantial.
10. ____. Whether the effect of an order is substantial depends on whether
    it affects with finality the rights of the parties in the subject matter.
11. Final Orders: Appeal and Error. Most fundamentally, an order affects
    a substantial right when the right would be significantly undermined or
    irrevocably lost by postponing appellate review.
12. Foreign Judgments: Jurisdiction: Collateral Attack: Presumptions.
    While it is presumed that a foreign court rendering a judgment had juris-
    diction over the parties, a foreign judgment can be collaterally attacked
    by evidence that the rendering court was without such jurisdiction, so
    long as the attack is timely done within the framework of the Nebraska
    Uniform Enforcement of Foreign Judgments Act.

  Appeal from the District Court for Scotts Bluff County:
Derek C. Weimer, Judge. Judgment vacated.
   Michael W. Meister for appellants.
  Andrew W. Snyder, of Chaloupka, Holyoke, Snyder,
Chaloupka &amp; Longoria, P.C., L.L.O., for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Freudenberg, J.
                      NATURE OF CASE
   Michael W. Meister and his professional corporation,
Michael W. Meister, Attorney at Law, P.C., L.L.O. (individ­
ually and collectively Meister), appeal from the denial of his
motion to quash and vacate in a garnishment action, which
sought to collaterally attack a Wyoming judgment obtained by
Gem City Bone and Joint, P.C. (Gem City), against Meister.
Earlier in the registration and enforcement process, Meister
and his professional corporation challenged the foreign judg-
ment, claiming the Wyoming court lacked personal juris-
diction to enter a judgment against either his professional
corporation or himself, personally. The district court rejected
their argument and permitted the registration of the for-
eign order. Meister and his professional corporation failed
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         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
               GEM CITY BONE &amp; JOINT v. MEISTER
                       Cite as 306 Neb. 710
to timely appeal the district court’s decision. Gem City then
requested a garnishment to enforce the registered judgment
against Meister individually, which prompted Meister to file a
motion to quash the garnishment and to vacate the Wyoming
judgment. The district court denied Meister’s motion to quash
and vacate. Meister appeals.
                       BACKGROUND
   Meister, an attorney in Scottsbluff, Nebraska, represented
Alejandra Garza (Alejandra), a minor, in a personal injury mat-
ter. During the course of that representation, it was determined
that Alejandra needed surgery. The doctor treating Alejandra
recommended that the surgery be performed by Gem City in
Laramie, Wyoming. Alejandra’s father signed an authorization
for treatment and an assignment from any potential settlement
proceeds to ensure payment of Alejandra’s surgery.
   Following the surgery, but before settlement occurred,
Alejandra’s father passed away and Alejandra obtained the
age of majority. Upon settlement, Gem City requested the full
amount billed for the treatment, $15,337. Meister disputed this
billing, claiming that Gem City should have billed Medicaid
and that Nebraska law did not permit Gem City to charge
above the Medicaid reimbursement rate of $5,112.33.
   A settlement was not reached, and Gem City pursued, in
Wyoming, a breach of contract action against Meister and
his professional corporation to recover the portion of the
settlement assigned to them. Meister entered an appearance in
Wyoming, filing a “Rule 12” motion to dismiss for (1) lack
of subject matter jurisdiction, (2) lack of personal jurisdic-
tion, (3) improper venue, and (4) failure to state a claim upon
which relief can be granted. Before the motion was ruled
upon, Meister withdrew the lack of venue and subject mat-
ter claims.
   Gem City’s jurisdictional allegations are contained in the
pleadings of the original Wyoming action. Such allegations
asserted that the assignment to Gem City has Meister’s name
listed as the attorney of record. The signature block contains
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            Nebraska Supreme Court Advance Sheets
                     306 Nebraska Reports
                  GEM CITY BONE &amp; JOINT v. MEISTER
                          Cite as 306 Neb. 710
a stamp for “Michael Meister,” and the assignment was faxed
from Meister’s professional corporation’s office in Scottsbluff
to Gem City. It is further asserted that after receiving the settle-
ment money on the original claim, Meister sent emails to nego-
tiate payment with Gem City. Gem City claims that Meister
and his professional corporation’s involvement in the assign-
ment and the negotiation emails qualify as directed activities
and that Meister and his professional corporation should have
expected to be sued in Wyoming in the event of a breach.
In addition, Gem City pleads that personal jurisdiction over
Meister and his professional corporation was proper because
Meister acted in both a personal and professional capacity in
representing his client.
   There was a hearing on the jurisdiction issue in Wyoming,
but the record does not show that any evidence was pro-
duced. The district court in Wyoming denied Meister and
his professional corporation’s motion and proceeded to trial.
Neither Meister nor his professional corporation appeared, and
the Wyoming court entered default judgment against Meister
and his professional corporation, jointly and severally. The
Wyoming judgment was not appealed.
   Gem City submitted the Wyoming judgment for filing in the
district court for Scotts Bluff County pursuant to Neb. Rev.
Stat. § 25-1587.03 (Reissue 2016) of the Nebraska Uniform
Enforcement of Foreign Judgments Act (NUEFJA). 1 Meister
and his professional corporation first responded by making
a motion to dismiss, claiming that the applicant is not an
attorney licensed to practice in the State of Nebraska and that
the foreign judgment creditor is a professional corporation.
This motion was overruled. Shortly thereafter, Meister and his
professional corporation filed a pleading entitled “Response
to Foreign Judgment,” where they again raised the issue of
personal jurisdiction. They claimed that Meister and his pro-
fessional corporation lacked sufficient contacts with the State
1
    Neb. Rev. Stat. §§ 25-1587.01 to 25-1587.09 (Reissue 2016 &amp; Cum. Supp.
    2018).
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           Nebraska Supreme Court Advance Sheets
                    306 Nebraska Reports
                  GEM CITY BONE &amp; JOINT v. MEISTER
                          Cite as 306 Neb. 710
of Wyoming and that “the court lacked jurisdiction, such to
offend the due process clause of the fourteenth amendment.”
The pleading sought the vacation of the foreign judgment.
   Following a hearing in which both parties presented evi-
dence, the district court rejected Meister and his professional
corporation’s argument and found that they had failed to rebut
the presumption that the Wyoming court had personal juris-
diction. 2 The district court entered an order overruling Meister
and his professional corporation’s request to vacate, which the
court referred to as “overruling their motion to dismiss,” and
permitted the registration of the Wyoming judgment on March
25, 2019. In the order, the district court made no distinc-
tions between Meister as an individual and Meister’s profes-
sional corporation.
   An appeal was filed on April 25, 2019. However, the
Nebraska Court of Appeals determined that the appeal was
untimely and dismissed it pursuant to Neb. Ct. R. App. P.
§ 2-107(A)(2) (rev. 2017).
   After registering the judgment, the district court ordered
garnishment against Meister personally. There is nothing in the
record showing Gem City pursued collection efforts against
Meister’s professional corporation following the registration of
the Wyoming judgment. Meister moved to quash the garnish-
ment and vacate the “judgment registered in the above cap-
tioned matter.” Once again, Meister raised the argument that
the Wyoming court did not have personal jurisdiction over him.
Meister also argued that because he had legitimate defenses
to the default judgment in Wyoming, the court should vacate
the entry of the foreign judgment and allow him to raise his
defenses in an action in Nebraska. 3
   The district court overruled Meister’s motions to quash
and vacate on August 19, 2019, reasoning Neb. Rev. Stat.
§ 25-2001 (Reissue 2016) does not give Nebraska courts the
2
    See, Olson v. England, 206 Neb. 256, 292 N.W.2d 48 (1980); Repp v.
    Repp, 156 Neb. 45, 54 N.W.2d 238 (1952).
3
    See Miller v. Steichen, 268 Neb. 328, 682 N.W.2d 702 (2004).
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            Nebraska Supreme Court Advance Sheets
                     306 Nebraska Reports
                   GEM CITY BONE &amp; JOINT v. MEISTER
                           Cite as 306 Neb. 710
authority to vacate the judgment of a court in a sister state.
It also noted that Meister had an opportunity to appeal the
order registering the foreign judgment but had failed to timely
do so.
   On August 21, 2019, the district court entered an order for
Meister’s property to be delivered to the court. On September
5, Meister filed a notice of appeal.
                 ASSIGNMENTS OF ERROR
   Meister assigns that the district court erred by finding that
the Wyoming court had personal jurisdiction over Meister and
his professional corporation. He also assigns as error the fail-
ure by the district court to treat the judgment like a Nebraska
judgment, which can be vacated where there is a valid defense
to the judgment and the judgment was entered as a default
judgment rather than a judgment entered on the merits. 4
                   STANDARD OF REVIEW
   [1] A jurisdictional question that does not involve a factual
dispute is determined by an appellate court as a matter of law,
which requires the appellate court to reach a conclusion inde-
pendent of the lower court’s decision. 5
                           ANALYSIS
   [2,3] As a preliminary matter, we must determine whether
this appeal is properly before the court as a final order or judg-
ment. Before reaching the legal issues presented for review, it
is the duty of an appellate court to determine whether it has
jurisdiction over the matter before it. 6 For an appellate court to
acquire jurisdiction over an appeal, there must be a final order
or final judgment entered by the court from which the appeal
is taken. 7
4
    See id.
5
    Green v. Seiffert, 304 Neb. 212, 933 N.W.2d 590 (2019).
6
    In re Adoption of Madysen S. et al., 293 Neb. 646, 879 N.W.2d 34 (2016).
7
    Id.                                   - 716 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                   GEM CITY BONE &amp; JOINT v. MEISTER
                           Cite as 306 Neb. 710
   [4,5] We have explained that a judgment is the final deter-
mination of the rights of the parties in an action. 8 A final judg-
ment is one that disposes of the case by dismissing it either
before hearing is had upon the merits or after trial by rendition
of judgment for the plaintiff or defendant. 9 Conversely, every
direction of a court or judge, made or entered in writing and
not included in a judgment, is an order. 10 The orders entered in
a NUEFJA proceeding are not the result of a trial, nor do any
of the orders finally decide the rights of a party in an action.
A party registers a foreign judgment and then can pursue
enforcement using a series of orders until the judgment is sat-
isfied. 11 Under this definition, all of the entries by the district
court below, executed under the same case number, are orders
entered after the judgment is registered. Therefore, the question
is whether we currently have before us a final order.
   Neb. Rev. Stat. § 25-1902 (Supp. 2019) defines final orders
and currently states:
          (1) The following are final orders which may be
      vacated, modified, or reversed:
          (a) An order affecting a substantial right in an action,
      when such order in effect determines the action and pre-
      vents a judgment;
          (b) An order affecting a substantial right made during a
      special proceeding;
          (c) An order affecting a substantial right made on
      summary application in an action after a judgment is
      entered[.]
   First, we must determine what kind of proceeding is involved
to determine if it fits within a subsection of § 25-1902(1). We
find subsection (1)(c) of § 25-1902 applicable to our final
order analysis in the present case. This type of order has two
 8
     Id.
 9
     Id.
10
     Id.
11
     See §§ 25-1587.01 to 25-1587.09.
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             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                   GEM CITY BONE &amp; JOINT v. MEISTER
                           Cite as 306 Neb. 710
requirements. First, it must be an order on “summary applica-
tion in an action after a judgment is entered.” Second, the order
must affect a substantial right.
   We note that under a previous version of the NUEFJA, the
registration was a separate action that ended with the registra-
tion that was a final judgment amenable to immediate appeal.
Under the prior statutory scheme, a judgment debtor had
30 days to respond to the registration, whereby a defendant
could plead a lack of jurisdiction and have the registration set
aside. 12 The court’s ruling on such challenge was determined
upon the court’s ultimate judgment registering or refusing to
register the foreign judgment. 13 Under the prior scheme, the
failure to take advantage of the statutory procedure to chal-
lenge the jurisdiction of the foreign judgment before its regis-
tration resulted in a waiver of such claim and the court’s reg-
istration operated in subsequent, separate enforcement actions,
as claim preclusion on the question of the jurisdiction of the
foreign court. 14
   In contrast, under the current version of the NUEFJA, the
statutes no longer provide for a separate action only for the
registration resulting in a final judgment of registration in
which the court necessarily made a final determination of
the foreign court’s jurisdiction. 15 Instead, once the judgment
is registered by the clerk of the court, the creditor may then
proceed with enforcement. Under the current scheme, the
registration does not determine the jurisdiction of the foreign
court; rather, the statutory scheme expressly provides that the
registered foreign judgment is subject to the same procedures
12
     See Neb. Rev. Stat. §§ 25-1587 to 25-15,104 (Reissue 1989). See, also,
     Olson v. England, supra note 2; Schroeder v. Homestead Corp., 163 Neb.
     43, 77 N.W.2d 678 (1956).
13
     See § 25-1597. See, also, Schroeder v. Homestead Corp., supra note 12.
14
     See, generally, Hara v. Reichert, 287 Neb. 577, 843 N.W.2d 812 (2014);
     Schroeder v. Homestead Corp., supra note 12.
15
     See §§ 25-1587.01 to 25-1587.09. See, also, Deuth v. Ratigan, 256 Neb.
     419, 590 N.W.2d 366 (1999).
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             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                   GEM CITY BONE &amp; JOINT v. MEISTER
                           Cite as 306 Neb. 710
and challenges as a Nebraska judgment, which the statute con-
templates will occur after its ministerial registration with the
clerk of the court. 16
   Such challenges are brought by motions challenging the
creditor’s enforcement actions against the debtor’s assets. 17
The creditor may seek enforcement through a whole series of
orders directing the transfer of specific property to satisfy the
judgment while it remains enforceable. Likewise, the judgment
debtor may make motions to stay or vacate the enforcement in
a variety of situations. 18
   [6] We have explained that an order on “‘summary appli-
cation in an action after judgment’” under § 25-1902 is an
order ruling on a postjudgment motion in an action. 19 We find
that motions to vacate the registration of a foreign judgment
should be treated in a similar fashion as motions challenging
garnishment and execution under other sections of chapter 25
of the Nebraska Revised Statutes. 20 Each motion that a debtor
or creditor makes after a judgment is registered under the
NUEFJA constitutes a postjudgment motion. 21 Thus, the court
order presently appealed, ruling on Meister’s motions to vacate
and quash, meets the first requirement to be a final order
under § 25-1902(1)(c).
   [7-11] The last step to determine if we have a final order
is to ascertain whether a substantial right has been affected.
A “substantial right” is an essential legal right, not a mere
technical right. 22 A substantial right is affected if the order
16
     See § 25-1587.03.
17
     See Deuth v. Ratigan, supra note 15.
18
     See § 25-1587.05.
19
     Heathman v. Kenney, 263 Neb. 966, 969, 644 N.W.2d 558, 561 (2002).
20
     See Cattle Nat. Bank &amp; Trust Co. v. Watson, 293 Neb. 943, 880 N.W.2d
     906 (2016).
21
     See § 25-1587.03.
22
     Simms v. Friel, 302 Neb. 1, 921 N.W.2d 369 (2019) (citing Steven S. v.
     Mary S., 277 Neb. 124, 760 N.W.2d 28 (2009)).
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              Nebraska Supreme Court Advance Sheets
                       306 Nebraska Reports
                     GEM CITY BONE &amp; JOINT v. MEISTER
                             Cite as 306 Neb. 710
affects the subject matter of the litigation, such as diminish-
ing a claim or defense that was available to an appellant prior
to the order from which an appeal is taken. 23 It is not enough
that the right itself be substantial; the effect of the order on
that right must also be substantial. 24 Whether the effect of an
order is substantial depends on whether it affects with finality
the rights of the parties in the subject matter. 25 Most fundamen-
tally, an order affects a substantial right when the right would
be significantly undermined or irrevocably lost by postponing
appellate review. 26
   In the present case, we have a series of orders ruling upon
motions that Meister made to challenge the registration of the
Wyoming judgment. Subsequently, the court issued an order
overruling Meister’s motions to quash and vacate the garnish-
ment of his property, which Meister appealed. We hold that
orders denying motions to vacate a foreign judgment affect a
substantial right. Once the court ordered the garnishment of his
bank account, forcing Meister to postpone his appeal from such
order would significantly undermine his right to the use and
enjoyment of his property. Thus, we have held in other cases
that an order to quash a garnishment clearly affects a substan-
tial right. 27 We find that the court order denying the motion to
quash and vacate was a final order pursuant to § 25-1902(1)(c)
and that Meister has timely appealed the matter to this court.
Therefore, we have jurisdiction over this appeal.
   Although the court had previously determined Meister’s
jurisdictional challenge in ruling on a previous motion to
23
     Id.
24
     Simms v. Friel, supra note 22. See, also, Cano v. Walker, 297 Neb. 580,
     901 N.W.2d 251 (2017).
25
     Id.26
     Simms v. Friel, supra note 22. See, also, Tilson v. Tilson, 299 Neb. 64, 907
     N.W.2d 31 (2018).
27
     See Shawn E. on behalf of Grace E. v. Diane S., 300 Neb. 289, 912
     N.W.2d 920 (2018). See, also, Western Ethanol Co. v. Midwest Renewable
     Energy, 305 Neb. 1, 938 N.W.2d 329 (2020).
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             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                   GEM CITY BONE &amp; JOINT v. MEISTER
                           Cite as 306 Neb. 710
vacate, and Meister failed to timely appeal that order, Meister
is not bound by the court’s prior determination. The doctrines
of issue and claim preclusion do not apply to orders issued
in the same proceedings. 28 We have explained that both issue
and claim preclusion are triggered only when there are succes-
sive suits dealing with the same claim(s) or issue(s) between
the same parties or related parties. 29 In the present case, we
have successive orders issued by the same court in the same
case. We also note that issue and claim preclusion are mat-
ters that ordinarily must be timely raised as a defense by the
opposing party or else they are waived. 30 At no point below
did Gem City raise in response to Meister’s motion to quash
and vacate the defense of issue or claim preclusion. We find
that Meister is not barred from litigating in this appeal the
question of whether the Wyoming judgment is void for lack
of jurisdiction.
               Meister’s Personal Jurisdiction
                           Challenge
   Having determined that the district court’s order authorizing
the garnishment of Meister’s personal bank account is properly
before us, we turn to Meister’s assignments of error. Meister
contends, first, that the district court for Scotts Bluff County
failed to find as a matter of law that the Wyoming court was
without jurisdiction. Second, Meister contends that if regis-
tration was proper, the court should vacate the registration
and Meister should receive a trial on the merits, pursuant to
Miller v. Steichen. 31 We conclude that the Wyoming court was
­without personal jurisdiction over Meister as an individual, and
 because the Wyoming judgment is void against Meister as an
28
     See Money v. Tyrrell Flowers, 275 Neb. 602, 748 N.W.2d 49 (2008).
29
     See id.30
     See Ballard v. Union Pacific RR. Co., 279 Neb. 638, 781 N.W.2d 47     (2010). See, also, DeCosta Sporting Goods, Inc. v. Kirkland, 210 Neb.
     815, 316 N.W.2d 772 (1982).
31
     See Miller v. Steichen, supra note 3.
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             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                    GEM CITY BONE &amp; JOINT v. MEISTER
                            Cite as 306 Neb. 710
individual, we need not address Meister’s second assignment
of error.
   [12] While it is presumed that a foreign court rendering a
judgment had jurisdiction over the parties, a foreign judgment
can be collaterally attacked by evidence that the rendering
court was without such jurisdiction, so long as the attack is
timely done within the framework of the NUEFJA. 32 We note
that the jurisdictional question on appeal applies solely to
Meister as an individual, because the August 21, 2019, order
for garnishment was of Meister’s personal bank account. We
decline to address the hypothetical question of whether juris-
diction would be proper over Meister’s professional corpora-
tion, because such issue is not currently before us.
   The Wyoming court’s exercise of jurisdiction comes from
Wyo. Stat. Ann. § 5-1-107 (2019), which provides: “(a) A
Wyoming court may exercise jurisdiction on any basis not
inconsistent with the Wyoming or United States constitution.”
Thus, Wyoming courts have adopted the personal jurisdic-
tion framework created by federal precedent. 33 That frame-
work focuses on the limitations to jurisdiction under the
Due Process Clause of the 14th Amendment to the U.S.
Constitution.
   The Due Process Clause authorizes personal jurisdiction
if two elements are met. First, a defendant must have “pur-
posefully established ‘minimum contacts’ within the forum
State.” 34 Second, the assertion of personal jurisdiction must
comport with traditional notions of fair play and substan-
tial justice. 35
32
     First Fed. Sav. &amp; Loan Assn. v. Wyant, 238 Neb. 741, 472 N.W.2d 386     (1991).
33
     See, O’Bryan v. McDonald, 952 P.2d 636 (Wyo. 1998); Markby v. St.
     Anthony Hosp. Systems, 647 P.2d 1068 (Wyo. 1982).
34
     See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474, 105 S. Ct. 2174,
     85 L. Ed. 2d 528 (1985) (citing Internat. Shoe Co. v. Washington, 326 U.S.
     310, 66 S. Ct. 154, 90 L. Ed. 95 (1945)).
35
     See id.                                    - 722 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                    GEM CITY BONE &amp; JOINT v. MEISTER
                            Cite as 306 Neb. 710
   Wyoming has adopted a three-part test for personal jurisdic-
tion under these principles: (1) The defendant must purpose-
fully avail himself of the privilege of acting in the forum state
or of causing important consequences in that state, (2) the
cause of action must arise from the consequences in the forum
state of the defendant’s activities, and (3) the activities of the
defendant or the consequences of those activities must have a
substantial enough connection with the forum state to make the
exercise of jurisdiction reasonable. 36
   Gem City brought the original action against Meister, indi-
vidually, and his professional corporation. For jurisdictional
purposes, these are separate entities. 37 One of the primary pur-
poses of incorporation is to create a separate legal entity that
limits personal liability for the shareholders. 38 A professional
corporation enjoys such protections as provided to other corpo-
rations under the laws of the state in which it is incorporated.
Thus, the issue of whether the Wyoming court had jurisdiction
over Meister’s professional corporation and over Meister per-
sonally are distinct questions.
   Whether the Wyoming court had personal jurisdiction over
Meister as an individual depends upon actions in the record
that can be attributed to Meister personally and which satisfy
constitutional requirements. Under the principles of corporate
law, it is generally held that “[w]here the acts of individual
principals of a corporation in the jurisdiction were carried out
solely in the individuals’ corporate or representative capacity,
the corporate structure will ordinarily insulate the individuals
from the court’s jurisdiction.” 39 This principle prevents a court
36
     See O’Bryan v. McDonald, supra note 33.
37
     See State v. Nugget Coal Co., 60 Wyo. 51, 144 P.2d 944 (1944).
38
     See Wyo. Stat. Ann. §§ 17-16-101 to 17-16-1720 (2019). See, also, State
     v. Nugget Coal Co., supra note 37.
39
     See Ten Mile Indus. Park v. Western Plains Service, 810 F.2d 1518, 1527     (10th Cir. 1987). See, also, Newsome v. Gallacher, 722 F.3d 1257 (10th
     Cir. 2013).
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             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                    GEM CITY BONE &amp; JOINT v. MEISTER
                            Cite as 306 Neb. 710
from exercising jurisdiction over the representatives of a cor-
poration based on a finding that jurisdiction over the corpora-
tion is proper unless it can be shown that the facts compel the
court to pierce the corporate veil. 40
   Gem City did not plead, nor has it argued at any point in
these proceedings, that the actions of Meister warrant the pierc-
ing of the corporate veil, so as to treat Meister’s professional
corporation as an alter ego of Meister individually. Likewise,
the Wyoming court gave no indication that it was applying this
doctrine to find that jurisdiction over Meister as an individual
was warranted. Absent such a finding from the Wyoming court,
we must conclude that Meister’s professional corporation is a
separate legal entity from Meister as an individual.
   On the record before us, we are unable to identify any
actions in the pleadings or at subsequent hearings that can be
attributed to Meister as an individual, which would lead us to
find that the Wyoming court had jurisdiction over Meister as
an individual. All of the actions by Meister identified by the
pleadings constitute actions by Meister’s professional corpora-
tion in the course of representing Alejandra. Neither Gem City
nor the Wyoming court provides any precedent that imputes
actions done in a professional capacity to an individual person-
ally for jurisdictional purposes.
   General principles of corporate law provide that the burden
is on Gem City to show why piercing the corporate veil would
be appropriate before jurisdiction is gained over Meister indi-
vidually for the actions taken by Meister’s professional corpo-
ration. All of the communications by fax and email were done
by Meister as an agent of his professional corporation. Gem
City’s pleadings do not separate actions taken by Meister’s
professional corporation and by Meister himself, and although
there was a hearing on Meister’s motion to dismiss, no addi-
tional evidence was offered. Likewise, all of the facts recited
by the Wyoming court in support of finding jurisdiction are
40
     See Ten Mile Indus. Park v. Western Plains Service, supra note 39.
                                    - 724 -
             Nebraska Supreme Court Advance Sheets
                      306 Nebraska Reports
                    GEM CITY BONE &amp; JOINT v. MEISTER
                            Cite as 306 Neb. 710
actions taken by Meister’s professional corporation. On these
facts, there is not a single action in our record that can be
attributed to Meister as an individual that would subject him to
Wyoming jurisdiction.
   In order to satisfy constitutional requirements for juris-
diction, there must be some action taken by the party that
makes the exercise of personal jurisdiction proper. Without
any actions taken by Meister as an individual that can sat-
isfy the minimum contacts requirements for jurisdiction, we
must conclude that the Wyoming court improperly exercised
personal jurisdiction over Meister as an individual. Without
jurisdiction, the Wyoming order is void as to Meister as an
individual. 41 The order entered by the district court for Scotts
Bluff County on August 21, 2019, garnishing Meister’s bank
account must be vacated because it is based on the registration
of a void judgment.
                        CONCLUSION
   The only order properly before us on appeal is the August 21,
2019, order, which garnishes Meister’s personal bank account.
On the facts presented, we find that the Wyoming court incor-
rectly determined that it had jurisdiction of Meister as an indi-
vidual. We make no finding as to whether there was personal
jurisdiction over Meister’s professional corporation. Because
we are vacating the Nebraska order garnishing Meister’s per-
sonal bank account, we need not address Meister’s second
assignment of error.
                                           Judgment vacated.
41
     See First Fed. Sav. &amp; Loan Assn. v. Wyant, supra note 32.
